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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Able Home Health, LLC
                                   Plaintiff,
v.                                                      Case No.: 1:20−cv−03052
                                                        Honorable Sara L. Ellis
Verve Global, Inc., et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 14, 2020:


       MINUTE entry before the Honorable Sara L. Ellis: Pursuant to Plaintiff's notice of
voluntary dismissal [11], the Court dismisses this case against all Defendants without
prejudice and without costs. Civil case terminated. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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